2/24/2021               Case MDL No. 2741 Document 2214-5       Filed
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                                                                     6.3.3

                                                                                                                            JURY

                                               U.S. District Court
                                      Northern District of Texas (Fort Worth)
                                   CIVIL DOCKET FOR CASE #: 4:20-cv-01192-O


 Crabtree v. Monsanto Company                                                       Date Filed: 10/29/2020
 Assigned to: Judge Reed C. O'Connor                                                Jury Demand: Plaintiff
 Cause: 28:1332 Diversity-Personal Injury                                           Nature of Suit: 365 Torts/Pers Inj: Product
                                                                                    Liability
                                                                                    Jurisdiction: Diversity
 Plaintiff
 Patrick Crabtree                                                     represented by Bryant A Fitts
                                                                                     Fitts Law Firm PLLC
                                                                                     4801 Richmond Avenue
                                                                                     Houston, TX 77027
                                                                                     713-871-1670
                                                                                     Fax: 713-583-1492
                                                                                     Email: bfitts@fittslawfirm.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Bar Status: Admitted/In Good Standing


 V.
 Defendant
 Monsanto Company


  Date Filed            # Docket Text
  10/29/2020           1 COMPLAINT WITH JURY DEMAND against Monsanto Company filed by Patrick
                         Crabtree. ($400 paid, receipt no. 0539-11315896) Unless exempted, attorneys who are not
                         admitted to practice in the Northern District of Texas must seek admission promptly. Forms,
                         instructions, and exemption information may be found at www.txnd.uscourts.gov, or by
                         clicking here: Attorney Information - Bar Membership. If admission requirements are not
                         satisfied within 21 days, the clerk will notify the presiding judge. (Attachments: # 1 Cover
                         Sheet) (cea) Modified on 11/2/2020 (mmw). (Entered: 10/30/2020)
  10/29/2020           2 Request for Clerk to issue Summons filed by Patrick Crabtree. (cea) (Entered: 10/30/2020)
  10/29/2020           3 New Case Notes: A filing fee has not been paid. CASREF case referral set (see Special
                         Order 3). Magistrate Judge Cureton preliminarily assigned. File to: staff attorney DK.
                         Pursuant to Misc. Order 6, Plaintiff is provided the Notice of Right to Consent to Proceed
                         Before A U.S. Magistrate Judge. Clerk to provide copy to plaintiff if not received
                         electronically. Attorneys are further reminded that, if necessary, they must comply with
                         Local Rule 83.10(a) within 14 days or risk the possible dismissal of this case without
                         prejudice or without further notice. (mmw) (Entered: 10/30/2020)
  10/29/2020           5 New Case Notes: A filing fee has been paid. File to: Judge O Connor. Pursuant to Misc.
                         Order 6, Plaintiff is provided the Notice of Right to Consent to Proceed Before A U.S.
                         Magistrate Judge. Clerk to provide copy to plaintiff if not received electronically. Attorneys
https://ecf.txnd.uscourts.gov/cgi-bin/DktRpt.pl?927448117296168-L_1_0-1                                                           1/2
2/24/2021               Case MDL No. 2741 Document 2214-5                 Filed
                                                              District Version     02/24/21 Page 2 of 43
                                                                               6.3.3

                          are further reminded that, if necessary, they must comply with Local Rule 83.10(a) within
                          14 days or risk the possible dismissal of this case without prejudice or without further
                          notice. (mmw) (Entered: 11/02/2020)
  10/30/2020           4 Payment for 1 Complaint,, filed by Patrick Crabtree. ($400; Receipt number 0539-
                         11315896). (Fitts, Bryant) (Entered: 10/30/2020)
  11/02/2020           6 Summons Issued as to Monsanto Company. (mmw) (Entered: 11/02/2020)
  11/13/2020           7 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Patrick
                         Crabtree. (Fitts, Bryant) (Entered: 11/13/2020)
  02/22/2021           8 ORDER: The Court hereby DIRECTS Plaintiffs to effect service on Defendant by March 8,
                         2021, or show good cause for the failure or inability to effect service on Defendant.
                         (Ordered by Judge Reed C. O'Connor on 2/22/2021) (mmw) (Entered: 02/22/2021)
  02/24/2021           9 SUMMONS Returned Executed as to Monsanto Company ; served on 2/23/2021.
                         (Hernandez, Cristina) (Entered: 02/24/2021)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                02/24/2021 15:56:47
                                    PACER
                                                    hllp1982:2634105:4722683 Client Code: 1417.0049
                                    Login:
                                                                                Search      4:20-cv-
                                    Description:    Docket Report
                                                                                Criteria:   01192-O
                                    Billable
                                                    2                           Cost:       0.20
                                    Pages:




https://ecf.txnd.uscourts.gov/cgi-bin/DktRpt.pl?927448117296168-L_1_0-1                                               2/2
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AO 410 (Rev. 06/12) Stmunons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   forthe

                                                 Northern District of Texas           Q

                   PATRICK CRABTREE




                            Pla;nr;ff(s)
                                 V.                                         Civil Action No.
                  MONSANTO COMPANY




                           Defendant(s)


                                                  SUMMONS IN A CIVIL ACTION
                                        Monsanto Company
To: (Defendu,rt's lrmire mtd address)
                                        800 North Llndbefg Blvd.
                                        St. Louis, MO 63167




          A lawsuit has been filed a~ainst you.

         Within 21 days after sei-vice of this summons on you (not cotuitinb the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must sei-ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or niotion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




       lf you fail to respond, judgment by default will be entered a~ainst you for the relief demanded in the complaint.
You also must tile your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Sigrtatrrl•e of Clerk or Depm, C(erk
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AO 440 (Rev. 06/1'2) Sununons in a Civil Action (Page 2)

 Civil Action No.

                                                              PROOF OF SERVICE
                      (T/tis sectioia should ►zot be filed witla t/te court unless requirer! bv Fed. R. Civ. P. 4(1))

            This suiumons for (ncnrae of utdividuad nnd title. i/'au .))
 was received by ine on (daie)

            Cl I personally served the summons on the individual at (place)
                                                                                      on (date)                             ; or


           [71 I left the summons at the individual's residence or usual place of abode with (r1arrre)
                                                                        a person of suitable age and discretion who resides there,
            on (date)                                  and mailed a copy to the individual's last known address; or

           [D 1 served the summons on (na„re ofnndividuaU                                                                            , who is
             designated by law to accept service of process on behalf of (nan,e ol'o,-ga,zizritiorz)
                                                                                      oll (date)                            ; or


            0 I rettu-ned the suninions unexecuted because                                                                                ; or


            71 Other (specif~):




            My fees are $                            for travel and $                      for services, for a total of $          0.00


            I declare under penalty of perjuiy that this infonnation is true.



 Date
                                                                                                   Sei-ver's sigrtritttre



                                                                                               Priirted rzame ar7d tit7e




                                                                                                    Server's trddress


 Additional infoi-mation regarding attempted service, etc:
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                            UNITED STATES DISTRICT COURT
                             NORTHERi~I ®ISTRICT OF TEaAS
                                FORT WORTH DIVISION

 PATRICK CRABTREE,
               Plaintiff,

                       V.                                      Civil Action No.

 MONSANTO COMPANY,
             Defendatit.



                                          COMPLAINT

       Plaintiff, Patrick Crabtree ("Plaintiff'), by and through his undersigned attonieys, hereby

brings this Coinplaint for dainages against Defendant, Monsanto Company and alleges the

following:

                                    NATURE OF THE CASE

       1.          This is an action for damages suffered by Plaintiff, as a direct and proximate

result of Defendant's negligent and wrongful conduct in coiuiec.tion with the design, development,

manufacture, testing, packaging, promoting, marlceting, advertising, distribution, labeling, and/or

sale of the herbicide Roundup(@ ("Roundup"), containing the active ingredient glyphosate.

       2.          Plaintiff maintains that Roundup and/or glyphosate is defective, dangerous to

human health, unfit and unsuitable to be marketed and sold in conunerce, and lacked proper

wai-nings and directions as to the dangers associated with its use.

       3.          Plaintiff's injuries, like those strilcing tliousands of similarly situated victims

across the country, were avoidable.

                                 JURISDICTION AND VENUE

       4.       This Cotu-t has jurisdiction ovei- Defendant and this action pursuant to 28 U.S.C.
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S 1332 because there is complete diversit:y of citiienship between Plaintiff and Defendant.

Defendant is either incorporated and/or has its principal place of business outside of the state in

which the Plaintiff resides.

       5.        The amount in controversy between Plaintiff and Defendant exceeds $75,000,

exclusive of interest and cost.

       6.      The Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       7.        Venue is proper within this District tuider 28 U.S.C. § 1391. Venue is proper in

this Court as injuries sustained by the Plaintiff, as described herein, occurred in Hood County,

Texas and were committed within the Northern District of Texas. 28 U.S.C. § 1391.



       S.      Plaintiff, Patricic Crabtree, is a natural person and is a resident of Granbury, Texas.

       9.      Plaintiff brings this action for personal iiijuries sustained by exposure to Roundup,

whicli contains the active ingredient glypliosate and the surfactant polyetlioxylated tallow amine

("POEA"). As a direct and proximate result of bein- exposed to Roundup, Plaintiff developed

diffuse Non-Hodgkin's Lyinphoma ("NHL")

       10.      "Roundup" refers to all foi-inulations of Defendant's Roundup products,

including, but not limited to, Roundup Concentrate Poison ivy and Tough Brush Killer 1, Roundup

Custom Herbicide, Roundup D-Pak Herbicide, Roundup Dty Concentrate, Roundup Export

Herbicide, Roundup Fence & Hard Edger 1, Roundup Garden Foam Weed & Grass Killer,

Roundup Grass and Weed Killer, Roundup Herbicide, Roundup Original 2k Herbicide, Roundup

Original II Herbicide, Roundup Pro Concentrate, Roundup Pro Dry Herbicide, Roundup Promax,

Roundup Quik Stik Grass and Weed Killer, Roundup Quikpro Herbicide, Roundup Rainfast

Concentrate Weed & Grass Killer, Roundup Rainfast Super Concentrate Weed & Grass Killer,
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Roundup Ready-to-Use Extended Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup

Ready-to-Use Weed & Grass Killer, Roundup Ready-to-Use Weed and Grass Killer 2, Roundup

Ultra Dry, Roundup Ultra Herbicide, Roundup Ultramax, Roundup VM Herbicide, Roundup Weed

& Grass Killer Concentrate, Roundup Weed & Grass Killer Concentrate Plus, Roundup Weed &

Grass Killer Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate, Roundup

Weed & Grass Killer 1 Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide Deploy Dry

Herbicide, or any other forniulation contauiing the active ingredient glyphosate.

       ll.        Defendant MONSANTO COMPANY is a Dela.ware corporation with its

headquarters and principal place of business in St. Louis, Missouri. Defendant Monsanto Company

is in the business of researching, testing, developing, designing, formulating, manufacturing,

producing, assembling, packagiilg, labeling, advertising, promoting, marketing, selling, supplying

and distributing herbicides, including Roundup products.

       12.        Defendant MONSANTO COMPANY is collectively referred to as "Monsanto"

or "Defendant."

       13.        At all times relevant to this complaint, Monsanto was the entity that discovered

the herbicidal properties of glyphosate and the manufacturer of Roundup products, whieh contain

the active ingredient glypliosatee and the surfactant POEA, as well as adjuvants and other "inert"

ingredients.

       14.     Defendant advertises and sells goods, specilically Roundup, in Granbury, Texas.

       15.        Defendant transacted and conducted business witliin the State of Texas that relates

to the allegations in this Complaint.

       16.     Defendant derived substantial revenue fi-om goods and products used in the State

of Texas.




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        17.     Defendant expected or should have expected its acts to have consequences within

the State of Texas and derived substantial revenue frorn interstate commerce.

        18.      Defendant engaged in the business of designing, developing, manufacturing,

testing, packaging, marlceting, distributing, labeling, and/or selling Roundup.

        19.      Defendant is authorized to do business in Texas and derives substantial income

fi-om doing business in tliis state.

        20.      Upon information and belief, Defendant purposefiilly availed itself of the

privilege of conducting activities with the State of Texas, thus invoking the benefits and

protections of its laws.

        21.      Upon infoniiation and belief Defendant did design, sell, advertise, manufacture

and/or distribute Roundup, with full knowledge of its dangerous and defective nature.

                                       FACTUAL ALLEGATIONS

        22.      At all relevant times, Defendant was in the business of, and did, design, research,

manufacture, test, advertise, promote, market, sell, distribute, and/or has acquired and is

responsible for the commercial herbicide Roundup.

        23.     Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate.

        24.      Defendant discovered the herbicidal properties of glyphosate during the 1970's

and subsequently began to design, research, manufacture, sell and distribute glyphosate based

"Roundup" as a broad-spectrmn herbicide.

       25.      Glyphosate is the active ingredient in Roundttp.

        26.     Glyphosate is a broad-spectrum herbicide used to kill weeds and grasses known to

coinpete with commercial crops grown around the globe.




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         27.      Glyphosate is a"iion-selective" herbicide, meaiiing it kills indiscriminately based

only on whether a given organism produces a specific enzyme, 5-enolpyruvylshilcimic acid-3-

phosphate synthase, known as EPSP synthase.

         28.      Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-pliosphate synthase

that interferes with the shikimic pathway in plants, resulting in the accumulation of shikiinic acid

in plant tissue and ultimately plant death.

         29.         Sprayed as a liquid, plants absorb glyphosate directly through their leaves, stenis,

and roots, and detectable quantities accumulate in the plant tissues.

         30.         Each year, approximately 250 million pounds of glyphosate are sprayed on crops,

commercial nurseries, suburban lawns, parks, and golf courses. This increase in use has been

driven largely by the proliferation of genetically engineered crops, crops specifically tailored to

resist the activity of glyphosate.

         31.         Defendant is intiniately involved in the development, design, nianufacture,

marketing, sale, and/or distribution of genetically modified ("GMO") crops, many of which are

marketed as being resistant to Roundup i.e., "Roundup Ready®". As of 2009, Defendant was the

world's leading producer of seeds designed to be Roundup ReadyC~. In 2010, an estimated 70% of

corn and cotton, and 90% of soybean fields in the United States contained Roundup Ready® seeds.

         32.         The original Roundup, containing the active ingredient glyphosate, was

introduced in 1974. Today, glyphosate products are among the world's most widely used

herbicides. 1

         33.         For nearly 40 years, consuniers, fai-niers, and the public have used Roundup,

unaware of its carcinogenic properties.



 Backgrounder, History of Monsanto's Glyphosate Herhicides, June 2005.



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               REGISTRATION OF HERBICIDES UNDER FEDERAL LAW

        34.      The manufacturc, fonnulation and distribution of lierbicides, such as Roundup,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act ("FIFRA"), 7 U.S.C.

§ 136 et seq. FIFRA requires that all pesticides be registered with the Environmental Protection

Agency ("EPA) prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C. §

136a(a).

        35.      The EPA requires as part of the registration process, ainong other requirements, a

variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse elfects on the environment. Registration by the

EPA, however, is not an assurance or finding of safety. Tlie detcrinination the EPA malces in

registering or re-registering a product is not that the product is "safe," but ratlier that use of the

product in accordance with its label directions "will not generally cause umeasonable adverse

effects on the environment." 7 U.S.C. § 136(a)(c)(5)(D).

       36.       FIFRA defines "unreasonable adverse effects on the environment" to mean "any

unreasonable risk to man or the environtnent, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide." 7 U.S.C. 5 136(bb). FIFRA thus

requires the EPA to make a risk/benefit analysis in determininb whether a registration should be

granted or allowed to continue to be sold in commerce.

       37.       The EPA and the State of Texas registered Roundup for distribution, sale, and

manufacture in the United States and the State of Texas.

       38.       FIFRA generally requires that the registrant, Monsanto, conduct health and safety

testing of pesticide products. The government is not required, nor is it able, to perform the product

tests that are required of the inanufacturer.




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       39.      The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. Tlie data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally-mandated process called "re-registration." 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA demands the coiiipletion of additional tests and the

submission of data for the EPA's review and evaluation.

       40.      In the case of glyphosate and Roundup, the EPA had plaiuied on releasing its

preliminary risk assessment — in relation to the registration process — no later than July 2015. The

EPA conipleted its review of glyphosate in early 2015, but delayed releasing the assessment

pending further review in liglit of the World I-Iealth Organization's March 24, 2015 tinding that

glyphosate is a"probable carcinogen" as demonstrated by the nieclianistic evidence of

carcinogenicity in humans and sufficient evidence of carcinogenicity in animals.

               MONSANTO'S FALSE REPRESENTATIONS REGARDING
                                THE SAFETY OF ROUNDUP©

       41.     In 1996, the New York Attoniey General ("NYAG") filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup products. Specifically, the

la.wsuit challenged Monsanto's general representations that its spray-on glyphosate-based

herbicides, including Roundup, were "safer than table salt" and "practically non-toxic" to

manimals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environniental safety of Roundup are the following:

               a) Remember that environmentally friendly Roundup herbicide is
                  biodegradable. It won't build up in the soil so you can use
                  Rowidup with confidence along customers' driveways,
                  sidewalks and fences ...
               b) And remetnber that Roundup is biodegradable and won't build
                  up in the soil. That will give you the environmental confidence
                  you need to use Rotuzdup everywhere you've got a weed, bi-ush,


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                      edging or trimming problem.
                  c) Roundup biodegl•ades into naturally occurring elements.
                  d) Remember that versatile Roundup herbicide stays where you put
                     it. That means there's no washing oi- leaching to hai-in
                     customers' shrubs or other desirable vegetation.
                  e) This non-residual herbicide will not wash or leach in the soil.
                     It...stays where you apply it.
                  t} You can apply Accord with "confidence because it will stay
                     wliere you put it" [;] it bonds tightly to soil particles, preventing
                     leachin(y. Then, soon after application, soil microorganisms
                     biodegrade Accord into natural products.
                  g) Glyphosate is less toxic to rats than table salt following acute
                     oral ingestion.
                  h) Glyphosate's safety margin is much greater thali required. It has
                     over a 1,000-fold safety margin in food and over a 700-fold
                     safety margin for workers who manufacture it or use it.
                  i) You can feel good about using herbicides by Monsanto. They
                     carry a toxicity category rating of `practically non-toxic' as it
                     pertains to mammals, birds and fish.
                  j) "Roundup can be used where kids and pets will play and breaks
                     down into natural materia.l." This ad depicts a person with his
                     head in the ground and a pet dog standing in an area which has
                     been treated with Roundup.'

         42.       On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

with NYAG, in which Monsanto agreed, among other things, "to cease and desist from publishing

or broadcasting any advertisements [in New York] that represent, directly or by implication" that:

                  a) its glyphosate-containing pesticide products or any component
                     thereof are safe, non-toxic, hannless or free from risk;
                  b) its glyphosate-containing pesticide products or any colnponent
                     thereof manufactured, forinulated, distributed or sold by
                     Molisanto are biodegradable;
                  c) its glyphosate-containing pesticide products or any component
                     thereof stay where they are applied under all circumstances and
                     will not move through the environment by any means;
                  d) its glyphosate-containing pesticide products or any coniponent


-' Atlomey General of the State of New York, In the Matter of Monsauto Company, Assurance of Discontinuauce Pursuaut to
 Executive Law § 63(15) (Nov. 1996).



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                        thereof are "good" for the environment or are "kiiown for their
                        environmental characteristics";
                   e) glyphosate-containing pesticide products or any component
                      thereof are safer or less toxic than common consumer products
                      other than herbicides; and
                   t)   its glypliosate-containing products ot- any component thereof
                        miglit be classified as "practically non-toxic".

         43.        Monsanto did not alter its advertising in the salne manner in any state other than

New York, and on information and belief still has not done so today.

         ".         In 2009, France's highest court iuled that Monsanto had not told the truth about

the safety of Roundup. The French court affiriiied an earlier judgment that Monsanto had falsely

advertised its herbicide Roundup as "biodegradable" and that it "left the soil clean."'

                        EdIDENCE OF CARCINOGENICI'TY IN ROUNDUP

         45.        As early as the 1980's Monsanto was aware of glyphosate's carcinogenic

properties.

         46.        On March 4, 1985, a group of the Environmental Protection Agency's ("EPA")

Toxicology Branch published a memorandum classifying glyphosate as a Category C oncogene. 4

Category C oncogenes are possible human carcinogens with limited evidence of carcinogenicity.

         47.        In 1986, the EPA issued a Registration Standard for glyphosate (NTIS PB87-

103214). The Registration standard required additional phytotoxicity, environmental fate

toxicology, product chemistly, and residue chemistry studies. All of the data required was

submitted and reviewed and/or waived.5

         48.        In October 1991 the EPA published a Memorandum entitled "Second Peer Review

of Glyphosate." The memorandum changed glyphosate's classitication to Group E(evidence of



' Monsanto Guilty in 'False Ad' Row, BBC, Oct. 15, 2009, available at http://news.bbc.co.uk/2/hi/europe/8308903.stm.
~ Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. Uuited States Environmeutal Protection Agency.
s http://www.epa.gov/oppsrrd I /reregistration/REDs/factsheets/0178fact.pdf



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non- carcinogenicity for humans). Two peer review committee members did not concur with the

conclusions of the committee and one member refitsed to sign.6

         49.         In addition to the toxicity of the active niolecule, many studies support the

hypothesis that glyphosate foln7ulations found in Defendant's Roundup products are more

dangerous and toxic than glyphosate alone.' As early as 1991 evidence existed demonstrating that

glyphosate foi-lnulations were significantly more toxic than glyphosate alone.s

         50.         hi 2002, Julie Marc published a study entitled "Pesticide Roulidup Provokes Cell

Division Dysfunctiou at the Level of CDK1/Cyclin B Activation".

         51.         The study found that Defendant's Roundup caused delays in the cell cycles of se.a

urchins, while the same concentrations of glyphosate alone proved ineffective and did not alter

cell cycles.

         52.         In 2004, Julie Marc published a study entitled "Glyphosate-based pesticides affect

cell cycle regulation". The study demonstrated a molecular link bet.ween glyphosate-based

products and cell cycle dysregulation.

         53.         The study noted that "cell-cycle dysregulation is a hallmark of ttunor cells and

development of cancers from the initial affected cell." Further, "[s]ince cell cycle disorders such

as cancer result fi-om dysfunction of unique cell, it was of interest to evaluate the threshold dose

of glyphosate affecting cells."9

         54.         In 2005, Francisco Peixoto published a study showing that Roundup's effects on

rat liver mitochondria are mucli more toxic and harmful than the same concentrations of glyphosate

alone.



' Second Peer Revievr of Glyphosate, CAS No. ] 071-83-6. October 30, 1881. Unite(t State, rnvironinental Protection Agency.
' Martinez et al. 2007; Benaclwur 2009; Gasnier et al. 2t)10; Peixoto 2005; Marc 2004
~ Martinez et al 1991
  (Molinari, 2000; Stewart et al., 2003)



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       55.      The Peixoto study suggested that the harmful effects of Roundup on mitochondrial

bioenergetics could not be exclusively attributed to glyphosate and could be the result of other

cheinicals, namely the surfactant POEA, or alternatively due to the possible synergy between

glyphosate and Roundup fonnulation products.

       56.      In 2009, Nora Benachour and Gilles-Eric Seralini published a study examining

the effects of Roi.uidup and glyphosate on human umbilical, embryonic, and placental cells.

       57.      The study used dilution levels of Roundup and glyphosate far below agricultural

recommendations, corresponding with low levels of residues in food. The study concluded that

supposed "inert" ingredients, and possibly POEA, change human cell pei-meability and amplify

toxicity of glyphosate alone. The study further suggested that determinations of glyphosate toxicity

should take into account the presence of adjuvants, or those cheinicals used in the formulation of

the coinplete pesticide. The study confinned that the adjuvants in Roundup are not inert and that

Roundup is always more toxic than its active ingredient glyphosate.

       58.      The results of these studies were confirined in recently lxiblished peer-reviewed

shidies and were at all times available and/or known to Defendant.

       59.      Defendaiit knew or should have known that Roundup is more toxic tlian

glyphosate alone and that safety studies on Roundup, Roundup's adjuvants and "inert" ingredients,

and/or the surfactant POEA were necessary to protect Plaintiff from Roundup.

       60.      Defendant lcnew or should have known that tests limited to Roundup's active

ingredient glyphosate were insufticient to prove the safety of Roundup.

       61.      Defendant failed to appropriately and adequately test Roundup, Roundup's

adjuvants and "inert" ingredients, and/or the surfactant POEA to protect Plaintiff froni Roundup.

       62.      Rather than performing appropriate tests, Defendant relied upon flawed industry-




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supported studies designed to protect Defendant's econoniic interests rather than Plaintiff and the

consuming public.

       63.        Despite its luiowledge that Roundup was considerably more dangerous than

glyphosate alone, Defendant continued to promote Roundup as safe.

                         IARC CLASSIFICATION OF GLYPHOSATE

       64.        The International Agency for Research on Caneer ("IARC") is the specialized

intergovernmental cancer agency the World Health Organization ("WHO") of the United Nations

tasked with conducting and coordinatiiig research into the causes of cancer

       65.       An IARC Advisory Group to Recommend Priorities for IARC Monographs during

2015-2019 met in Apri12014. Tliough iiominations for the review were solicited, a substance must

ineet two criteria to be eligible for review by the IARC Monographs: there niust already be some

evidence of carcinogenicity of the substance, and there must be evidence that humans are exposed

to the substance.

       66.       IARC set glyphosate for review in 2015-2016. IARC uses five criteria for

determining priority in reviewing chemicals. The substance must have a potential for direct impact

on public health; scientific literature to suppoi-t suspicion of carcinogenicity; evidence of

significant human exposure; high public interest and/or potential to bring clarity to a controversial

area and/or reduce public anxiety or concern; related agents similar to oiie given high priority by

the above considerations. Data reviewed is sourced preferably from publicly accessible, peer-

reviewed data.

       67.       On March 24, 2015, after its cuniulative review of human, animal, and DNA studies for

more than one (1) year, many of which have been in Defendant's possession since as early as 1985, the

IARC's working group published its conclusion that the glyphosate contained in Defendant's Roundup




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herbicide, is a Class 2A "probable carcinogen" as demonstrated by the mechanistic evidence of

carcinogenicity in huinans and sufficient evidence of carcinoQeiucity in animals.

       68.     The IARC's fiill Monograph was published on July 29, 2015 and established

glyphosate as a class 2A probable carcinogen to humans. According to the authors glyphosate

demonstrated sufficient niechanistic evidence (genotoxicity and oxidative stress) to warrant a 2A

classification based on evidence of carcinogenicity in humans and aniinals.

       69.     The IARC Worlcing Group found an increased rislc between exposure to glyphosate

and Non-Hodgkin's lymphoma ("NHL") and several subtypes of NHL, and the increased risk

continued after adjustnient for other pesticides.

       70.     The IARC also found that glyphosate caused DNA and chromosomal damage in

human cells.

                   EARLIER EVIDENCE OF GEYPHOSATE'S DANGER

       71.     Despite the new classification by the IARC, Defendant has had ample evidence of

glyphosate and Roundup's genotoxic properties for decades. Despite the new classification by the

IARC, Defendant has had ample evidence of glyphosate and Roundup's genotoxic properties for

decades.

       72.     Genotoxicity refers to chemical agents that are capable of damaging the DNA

within a cell through genetic mutations, which is a process that is believed to lead to cancer.

       73.     In 1997, Chris Clements published "Genotoxicity of select herbicides in Rana

catesbeiana tadpoles using the alkaline single-cell gel DNA electrophoresis (comet) assay."

       74.     The study found that tadpoles exposed to Roundup showed significant DNA

damage when compared with unexposed control aninials.

       75.     Both hLunan and animal studies have shown that glyphosate and glyphosate-based




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foi-mulations such as Roundup can induce oxidative stress.

        76.    Oxidative stress and associated chronic inflammation are believed to be involved

in carcinogenesis.

        77.    The IARC Monograph notes that "[s]trong evidence exists that glypliosate, AMPA

and glyphosate-based formulations can induce oxidative stress."

        78.    hi 2006 Cesar Paz-y-Miiio published a study examining DNA damage in htunan

subjects exposed to glyphosate.

        79.    The study produced evidence of chromosomal dainage in blood cells showing

sigiiificantly greater damage after exposure to glyphosate than before in the same individuals,

suggesting that the glyphosate formulation used during aerial spraying had a genotoxic effect on

exposed individuals.

        80.    The IARC Monograph reflects the volume of evidence of glyphosate pesticides'

genotoxicity noting "[t]he evidence for genotoxicity caused by glyphosate-based formulations is

strotig."

        81.    Despite knowledge to the contrary, Defendant maintains that there is no evidence

that Roundup is genotoxic, that regulatory authorities and independent experts are in agreement

that Roundup is not genotoxic, and that there is no evidence that Roundup is genotoxic.

        82.    In addition to glyphosate and Roundup's genotoxic properties, Defendant has loiig

been aware of glyphosate's carcinogenic properties.

        83.    Glyphosate and Roundup in particular. have long been associated with

carcinogenicity and the development of nttmerous foi-ms of cancer, including, but not limited to,

Non-Hodgkin's lymplhoma, Hodgkin's lymphoma, multiple myeloma, and soft tissue sare.oma.

        84.    Defendant has known of this association since the early to mid-1980s and numerous




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liumaii and animal studies have evidenced the carcinogenicity of glyphosate and/or Roundup.

        85.     In 1985 the EPA studied the effects of glyphosate in mice finding a dose related

response in male mice liiiked to renal ttibal adenomas, a rare tunior. The study concluded the

glyphosate was oncogenic.

        86.     In 2003 Lennart Hardell and Milcael Eriksson published the results of two case

controlled studies on pesticides as a risk factor for NIIL and hairy cell leukemia.

        87.     The study concluded that glyphosate had the niost significant relationship to NHL

among all herbicides studies witli an increased odds ratio of 3.11.

        88.     In 2003 AJ De Roos published a study examining the pooled data of mid-western

farmers, examining pesticides and herbicides as risk factors for NHL.

       89.     The study, which controlled for potential confounders, found a relationship

between increased NHL incidence and glyphosate.

        90.    In 2008 Mikael Eriksson published a population based case-control study of

exposure to various pesticides as a risk factor for NHL.

       91.     This strengthened previous associations between glyphosate and NHL.

       92.     In spite of this knowledge, Defendant continued to issue broad and sweeping

statements suggesting that Roundup was, and is, safer than ordinary household items such as table

salt, despite a lack of scientific support for the accuracy and validity of these statements and, in

fact, voluminous evidence to the contrary.

       93.     Upon infoi7nation and belief, these statenients and representations have been made

with the intent of inducing Plaintiff, the agricultural community, and the public at large to purchase

and increase the use of Defendant's Roundup for Defendant's pecuniary gain, and in fact, did

induce Plaintiff to use Roundup.




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       94.      Defendant made these statements with coniplete disregard and reckless indifference

to the safety of Plaintiff and the general public.

       95.      Notwithstanding Defendant's representations, scientific evidence has established a

clear association between glyphosate and genotoxicity, inflainmation, and an increased rislc of

many cancers, including, but not limited to, NHL, Multiple Myeloiml, and soft tissue sarcotna.

        96.     Defendant knew or should have laiown that glyphosate is associated witli an

increased rislc of developing cancer, including, but not liniited to, NHL, Multiple Myeloina, and

soft tissue sarcomas.

        97.     Defendant failed to appropriately and adequately inforni and warn Plaintiff of the

serious and dangerous risks associated with the use of and exposure to glyphosate and/or Roundup,

including, but not limit:ed to, the risk of developing NHL, as well as other severe and personal

injuries, which are perinanent and/or long-lasting in nature, cause significant physical pain and

mental anguish, diininished enjoyment of life, and the need foi- medical treatment, monitoring

and/or medications.

        98.     Despite the IARC's classification of glyphosate as a class 2A probable carcinogen,

Defendant continues to maintain that glyphosate and/or Roundup is safe, non-carcinogenic, non-

genotoxic, and falsely warrants to users and the general public that independent experts and

regulatory agencies agree that tliere is no evidence of carcinogenicity or genotoxicity in glyphosate

and Roundup.

        99.     Defeiidaiit has claimed and continues to claim that Roundup is safe, lloll-

carcinogenic, and non-genotoxic. These misrepresentations are consistent with Defendant's

cavalier approach to investigating and ensuring the safety of its pi-oducts, the safety of the public

at large, and the safety of Plaintiff.




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                    SCIENTIFIC FRAUD UNDERLYING TIIE SAFETY
                        DETERNIINATIONS OF GLYPHOSATE

       100.    After the EPA's 1985 classification of glyphosate as possibly carcinogenic to

humaris (Gi-oup C), Monsanto exei-ted pressure upon the EPA to change its classification.

       101.    This culminated in the EPA's reclassification of glyphosate to Group E, which was

based upon evidence of non-careinogenicity in humans.

       102.    In so classifying, the EPA stated that "[i]t should be emphasized, however, that

designation of an agent in Group E is based on the available evidence at the time of evaluation and

should not be interpreted as a definitive conclusion that the agent will not be a carcinogen under

any circumstances."

       103.    On two occasions, the EPA found that laboratories hired by Monsanto to test the

toxicity of its Roundup products for registration purposes committed scientific fraud.

       104.    In the first instance, Monsanto hired Industrial Bio-Test Laboratories ("IBT") to

perform aiid evaluate pesticide toxicology studies relating to Roundup. IBT performed

approximately 30 tests on glyphosate and glyphosate-containing products, including 11 of the 19

chronic toxicology studies needed to register Roundup with the EPA.

       105.    In 1976, the Food and Di-ug Adininistration ("FDA") perfonned an inspection of

IBT and discovered discrepancies between the raw data and the final repoi-t. relating to

toxicological impacts of glyphosate. The EPA subsequently audited IBT and detei-inined that the

toxicology studies conducted for Roundup were invalid. An EPA reviewer stated, after finding

"routine falsification of data" at IBT, that it was "hard to believe the scientific integrity of the

shidies when they said they toolc specimens of the uterus from male rabbits."

       106.    Three top executives of IBT were convicted of fraud in 1983.

       107.    In the second incident, Monsanto hired Craven Laboratories ("Ci:aven") in 1990 to



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perfoi-in pesticide and herbicide studies, including several studies on Roundup.

         108.     In March of 1991, the EPA announced that it was investigating Craven for

"allegedly falsifying test data used by chemical firnls to win EPA approval of pesticides."

         109.     The investigation lead to the indictments of the laboratory owner and a handful of

employees.

                MONSANTO'S CONTINUING DISREGARD FOR THE SAFETY
                         OF PLAINTIFF AND THE PUBLIC

         110.       Monsanto clainis on its website that "[r]egulatory authorities and independent

experts around the world have reviewed numerous lonbtenn/carcinogenicity and geiiotoxicity

studies and agree that there is no evidence that glyphosate, the active ingredient in Roundup brand

herbicides and other glyphosate-based herbicides, causes cancer, even at very high doses, and that

it is not: genotoxic."10

         111.       Ironically, the primary source for this statement is a 1986 report by the WHO, the

sanie organization that now considers glyphosate to be a probable carcinogen.

         112.       Glyphosate, and Defendant's Roundup products in particular, liave long been

associated with serious side eti'ects and inany regulatory agencies around the globe have banned

or are currently banniiig the use of glyphosate herbicide products.

         113.     Defendant's statements proclaiming the safety of Roundup and disregarding its

dangers misled Plaintiff.

         114.     Despite Defendant's knowledge that Roundup was associated with an elevated risk

of developing cancer, Defendant's promotional campaigns focused on Roundup's pui-ported

"safety profile".

         115.     Defendant's failure to adequately wac77 Plaintiff resulted in: (1) Plaintiff using aid


'u Backgrottnler— Glypbosate: No Evidence of Cnrcinogenicity. Updated November 2014. (downloaded October 9, ?015).



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being exposed to glyphosate instead of using aiiother acceptable and safe met:hod of controlling

unwanted weeds and pests; and (2) scientists and physicians failing to watn and instrnict consumers

about tlie risk of cancer, including NHL, and otlier injuries associated witli Roundup.

       116.    Defendant failed to seek modification of the labeling of Roundup to include

relevant information regarding the risks and dangers associated with Roundup exposure.

       117.    The failure of Defendant to appropriately warn and infonn the EPA has resulted in

inadequate warnings in safety information presented directly to users and consumers.

       118.    The failure of Defendant to appropriately wai-n and infonn the EPA has resulted in

the absence of warning or c.aution statements that are adequate to protect health and the

environment.

       119.    The failure of Defendant to appropriately warn and inform the EPA has result.ed in

the directions for use that are not adequate to protect liealth and the environment.

       120.    By reason of the foregoing acts and oiuissions, Plaintiff seeks coiiipensatory

damages as a result of Plaintiff's use of, and exposure to, Roundup which caused or was a

substantial contributing factor in causing Plaintiffls injuries, specifically NHL, and Plaintiff

suffered severe and personal injuries which were pernianent and lasting in nature, physical pain

and mental anguish, including diminished enjoyinent of life.

       121.    By reason of the foregoing, Plaintiff was severely and perrnanently iniured.

       122.    As a result of the actions and inactions of the Defendant, Plaintiff endured

emotional and mental anguish, niedical expenses, and otlier• economic and non-economic damages.

                          PLAiNTIFF'S EXPOSURE TO ROUNDUP

       123.    Plaintiff used Roundup in Haltom City, Texas and Granbury, Texas beginning in

the 1990s and ending in approximately 2017.




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        124.      For years, Plaintiff sprayed Roundup on a regular basis. Plaintiff followed all safety

and precautionary wamings during the course of use.

        125.      Plaintiff was subsequently diagnosed witli Non-Hodgkin's Lymphoma. The

development of Plaintiffs Non-Hodgkin's Lymphoma was proximately and actually caused by

exposure to Defendant's Roundup products.

        126.      As a result of his injuiy, Plaintiff has incurred significant economic and non-

economic damages.

         EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

        127.      Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein.

        128.      The rumiing of any statute of limitations has been tolled by reason of Defendant's

fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions,

actively concealed from Plaintiff the true risks associated with Roundup and glyphosate.

         129.      At all relevant times, Defendant has maintained that Roundup is safe, non-toxic,

and non-carcinogenic.

        130.       Indeed, even as of July 2016, Defendant continues to represent to the public that

"Regulatory authorities and independent experts around the world have reviewed numerous lonb

tenn/carcinogenicity and genotoxicity studies and agree that there is no evidence that glyphosate,

the active ingredient in Roundup® brand herbicides and other glyphosate-based herbicides, causes

cancer, even at very higli doses, and that it is not genotoxic"."1

         131.      As a result of Defendant's actions, Plaintiff was unaware, and could not

i-easonably know, nor have learned through reasonable diligence, that Roundup and/or glyphosate



  Qackgrottnder— Glypbosate: No Evi~lence of Carcinogenicity: Updated November 2014.



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contact exposed Plaintiff to the risks alleged herein and that those risks were the direct and

proximate result of Defendant's acts and omissions.

        132.     Furtherniore, Defendant is estopped froul relying on any statute of limitations

because of its fraudulent concealment of the true character, quality and nature of Roundup.

Defendant was under a duty to disclose the true character, quality, and nature of Roundup because

this was non-public inforination over which Defendant had and continues to have exclusive

control, and because Defendaiit kiiew that this inforniation was not available to Plaintiff or to

distributors of Roundup. hi addition, Defendant is estopped from relying on any statute of

limitations because of its intentional conceahnent of t:hese I'ac.ts.

        133.     Plaintiff did not have knowledge that Defendant was engaged in the wrongdoing

alleged liei-ein. Because of the fraudulent acts of concealment of wrongdoing by Defendant,

Plaintiff could not have reasonably discovered the wrongdoing at any time prior. Also, the

economics of this fiaud should be considered. Defendant had the ability to and did spend enormous

amounts of money in furtherance of its purpose of marl.eting, promoting and/or distributing a

profitable herbicide, notwithstanding the known or reasonably lcnown risks. Plaintiff and medical

professionals could not have afforded and could not have possibly conducted studies to detei7nine

the nature, extent, and identity of related health risks, and were forced to rely on only the

Defendant's representations. Accordingly, Defendant is precluded by the discovery rule and/or the

doctrine of fraudulent concealment from relying upon any statute of limitations.

                          FIRST CAUSE OF ACTION: l>1EGLIGENCE

        134.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fully set forth herein and further alleges as follows:

        135.    Defendant had a duty to exercise reasonable care in the designing, researching,




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testing, manufacturing, marketing, supplying, promoting, pacicaging, sale, and/or distribution of

Roundup into the stream of commerce, including a duty to assure that the product would not cause

users to suffer unreasonable, dangerous side effects.

       136.    Defendant failed to exercise ordinary care in tlie designing, researching, testing,

nlanufacturnlg, marlceting, supplying, promoting, packaging, sale, testing, quality assurance,

quality control, and/or distribution of Roundup into uiterstate commerce in that Defendant knew

or should have lcnown that using Roundup created a high risk of uiu-easonable, dangerous side

effects, including, but not limited to, the development of NI-IL, as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as need for lifelong medical treatnient, monitoring, and/or

medications.

       137.    The negligence by the Defendant, its agents, servants, and/or employees, included

but was not limited to the following acts and/or omissions:

       a       Manufacturing, producing, promoting, formulating, creating, and/or designing
               Rounciup without thoroughly testing it;
       b.      Failing to test Roundup and/or failing to adequately, sufficiently, and properly test
               Rotuidup;
       G       Not conductiiig sufficient testing programs to determine whether or not Roundup
               was safe for use; in that Defendant herein knew or sliould have known that Roundup
               was unsafe and unfit for use by reason of the dangers to its users;
       d       Not conducting sufficient testing programs and studies to determine Roundup's
               carcinogenic properties even after Defendant had knowledge that Roundup is, was,
               or could be carcinogenic;
       e       Failing to conduct sufficient testing progranis to determine the safety of "inert"
               ingredients and/or adjuvants contained witliin Roundup, and the propensity of these
               ingredients to render Roundup toxic, increase the toxicity of Roundup, whether
               these ingredients are carcinogenic, magniiy the carcinogenic properties of
               Roundup, and whether or not "inert" ingredients and/or adjuvants were safe for use;
       £       Negligently failing to adequately and correctly warn the Plaintiff, the public, the
               medical and agricultural professions, and the EPA of the dangers of Roundup;
       Q       Negligently failing to petition the EPA to sti-engtlien the warnings associated with
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               Roundup;
       h       Failing to provide adequate cautions and warnings to protect the health of users,
               handlers, applicators, and persons wlio would reasonably and foreseeably come into
               contact with Roundup;
       i.      Negligently marketing, advertising, and reconunending the use of Roundup without
               sufficient knowledge as to its dangerous propensities;
       j.      Negligently representing that Roundup was safe for use for its intended puipose,
               and/or that Roundtup was safer than ordinary and common items such as table salt,
               when, in fact, it was unsafe;
       k       Negligently representing that Roundup had equivalent safety and efifiicacy as other
               forms of herbicides;
       1       Negligently designing Roundup in a mannei-, which was dangerous to its users;
       m       Negligently manufacturing Rotundup in a manner, which was dangerous to its users;
       n.     Negligently producing Roundup in a manner, wliich was dangerous to its users;
       o.      Negligently formulating Roundup in a manner, which was dangerous to its users;'

       P.      Concealing information fi•om the Plaintiff while lcnowing that Roundup was unsafe,
               dangerous, and/or non-conforming with EPA regulations;
       q.      Improperly concealing and/or misrepresenting infonnation trom the Plaintiff,
               scientific and medical professionals, and/or the EPA, concerning the severity of
               risks and dangers of Roundup compared to other forms of herbicides; and
       i:      Negligently selling Roundup with a false and misleading label.

       138.    Defendant tuider-reported, underestimated, and downplayed the serious dangers of

Roundup.

       139.   Defendant negligently and deceptively compared the safety risl:s and/or dangers of

Roundup with common everyday foods such as table salt, and other fonns of herbicides.

       140.   Defendant was negligent and/or violated Texas law in the designing, researching,

supplying, manufacturing, promoting, packaging, distributing, testing, advertising, warning,

marketing, and selling of Rouiidup in that Defendant:

       a       Failed to use ordinary care in designing and ►nanutacturing Roundup so as to avoid
               the aforementioned rislcs to individuals wlien Roundup was used as an herbicide;
       b.     Failed to accompany its product with proper and/or accurate waniings regarding all
              possible adverse side effects associated with the use of Roundup;
       C.     Failed to accoinpany its product with proper warnings regarding all possible


                                               ,;
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                adverse side effects concei7ling the failure and/or malfiuiction of Roundup;
         d      Failed to accompany its product with accurate wat-nings regarding the risks of all
                possible adverse side effects concerning Roundup;
         c      Failed to warn of the severity and duration of such adverse effects, as the warnings
                given did not accurately reflect the symptoms, or severity of the side effects
                including, but not limited to, the development ofNHL;
         £      Failed to conduct adequate testing, clinical testing and post-niarketing sui-veillance
                to detennine the safety of Roundttp;
         g      Failed to conduct adequate testing, clinical testing, and post-marketing sui-veillance
                to determine the safety of Roundup's "inet-t" ingredients and/or adjuvants;
         h      Negligently misrepresented the evidence of Roundup's genotoxicity and
                carcinogenicity; and
         i      Was otherwise careless and/or negligent.

         141.   Despite the fact that Defendant knew or should liave known that Roundup caused,

or could cause, unreasonably dangeroL.is side effects, Defendant continued and continues to market,

manufacture, distribute, and/or sell Roundup to consumers, including the Plaintiff.

         142.   Defendant knew or should have known that consumers such as the Plaintiff would

foreseeably suffer injury as a result of Defendant's failure to exercise ordinary care, as set foi-th

above.

         143.   Defendant's violations of law and/or negligence are the pi-oximate cause of

Plaintiff s injuries, harin and economic loss, which Plaintiff has suffered.

         144.   As a result of the foregoing acts and omissioiis, Plaintiff suffered severe and

personal injuries, inchiding NHL, physical pain, mental anguish, diminished enjoyment of life,

financial expenses for hospitalization and medical care, including medical expenses, and other

economic, and non-economic damages.

         145.   Defendant knew and/or should have known that it was foreseeable consumers such

as Plaintiff wottld sutfer injuries as a result of Defendant's failure to exercise ordinary care in the

manufacturing, marketing, labeling, distribution, and sale of Roundup.



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         146,     Plaintiff did not lazow the nature and extent of the injuries that could result froni

the intended use of and/or exposure to Roundup or its active ingredient glyphosate.

         147.     Defendant's negligence was the proximate cause of Plaintiffs injuries, i.e., absent

Defendant's negligence, Plaintiffwould uot have developed Non-Hodgkin's Lymphoma.

         148.     Defendant's conduct, as described above, was reckless. Defendant regularly risks

the lives of consumers and users of its products, including Plaintiff, with full knowledge of the

dangers of its products. Defendant has made conscious decisions not to redesign, re-label, warn,

or inforrn the unsuspecting public, includiiig Plaintiff. Defenda.iit's reckless conduct therefore

warrants an award of punitive damages.

         149.     WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his

favor for conipensatory and punitive damages, together with interest, costs lierein incurred,

attorneys' fees and all such other and fui-ther relief as this Court deems just and proper.

                              SECOND CAUSE OF ACTION:
                     STRICT PRODUCTS LIABILITY — DESIGN DEFECT

         150.     Plaintiff incot-porates by reference all previous paragraphs of this Complaint as if

fiilly set forth herein and fiu-ther alleges as follows:

         151.     At all times herein mentioned, Defendant designed, researched, manufactured,

tested, advei-tised, promoted, sold, and distributed Roundup as described above that was used by

the Plaiiitiff.

         152.     Defendant's Roundup was expected to and did reach the usual consumers, handlers,

and persons coming into contact with said product without substantial change in the eondition in

which it was produced, manufactured, sold, distributed, and marketed by the Defendant.

         153.     At those times, Roundup was in an unsafe, defective, and inherently dangerous

condition, which was dangerous to users, and in particular, the Plaintiff.



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       154.    The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defeiidant was defective in desigii or formulation in that, when

it left the hands of the nianufacturer and/or suppliers, the foreseeable risks exceeded the benef ts

associated with the design or formulation of Roundup.

       155.    The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was defective in design and/or formulation, in that,

when it left the hands of the Defendant manufacturers and/or suppliers, it was tuueasonably

dangerous, unreasonably dangerous in nonnal use, and it was more dangerous than an ordinary

consumer would expect.

       156.    At all tiines herein mentioned, Roundup was in a defective condition and unsafe,

and Defendant knew or had reason to know that said product was defective and unsafe, especially

when used in the form and manner as provided by the Defendant. In particular, Defendant's

Roundup was defective in the following ways:

       a       Wlien plac.ed in the stream of commerce, Defendant's Roundup products were
               defective in design and fonnulation and, consequently, dangerous to an extent
               beyond that which an ordinary consumei- would anticipate.
       b.      When placed in the stream of cominerce, Defendant's Roundtip products were
               unreasonably dangerous in that they were hazardous and posed a grave risl: of
               cancer and other serious illnesses when used in a reasonably anticipated manner.
       c.      Wlien placed in the stream of commerce, Defendant's Roundup products contained
               unreasonably dangerous design defects and were not reasonably safe when used in
               a reasonably anticipated manner.
       d       Defendant did not sufticiently test, investigate, or study its Roundtip products.
       e       Exposure to Roundup presents a risk of harmful side effects that outweigh any
               potential utility stemming from the use of the lierbicide.
       £       Defendant new or should have known at the time of marketing its Roundup
               products that exposure to Roundup and could i-esult in cancer and other severe
               ilhiesses and injuries.
       g       Defendant did not conduct adequate post-marketing surveillance of its Roundup
               products.



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         157.   Defendant luiew or should have lqiown that at all times herein mentioned its

Roundup was in a defective condition, and was and is inherently dangerous and unsafe.

         158.   Plaintiff was exposed to Defendant's Roundup, as described above, witliout

knowledge ofRoundup's dangerous characteristics.

         159.   At the time of Plaintiffs use of and exposure to Roundup, Roundup was being used

for the purposes and in a manner nonnally intended, as a broad-spectrum herbicide.

         160.   Witli this knowledge, Defendant voluntarily designed Roundup with a dangerous

condition for use by the public, and in particular, the Plaintiff.

         161.   Defendant had a duty to create a product that was not unreasonably dangerous for

its nornial, intended use.

         162.   Defendant created a product that was and is unreasonably dangerous for its normal,

intended use.

         163.   Defendant inarlceted and promoted a product in such a manner so as to malce it

inherently defective as the Dcfendant downplayed Rotmdup's suspected, probable, and established

health risks inherent with its normal, intended use.

         164.   The Roundup designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and distributed by Defendant was manufactured defectively in that Roundup left

the hands of Defendant in a defective condition and was unreasonably dangerous to its intended

users.

         165.   The Roundup designed, researched, manufactured, tested, advertised, pronioted,

marketed, sold, and distributed by Defendant reached its intended users in the same defective and

unreasonably dangerous condition in which it was manufactured.

         166.   Defendant designed, researched, manufactured, tested, advei-tised, promoted,




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marketed, sold, and distributed a defective product, which created an unreasonable risk to the

health of consumers and to Plaintiff in particular, and Defendant is tlierefore strictly liable for the

injuries sustained by the Plaintiff.

        167.    Defendant could have employed a safer alternative design to render Roundup safe

or, in the alternative, provided proper instilictions for use on how to limit the potential risk

associated with Rotuidup's defective design. Defendant's Roundup products were and are more

dangerous than alternative produc.ts, and Defendant could have designed its Roundup products to

make them less dangerous. At the time Defendant designed its Roundup products, the state of the

industry's scientific ktiowledge was such that a less risky design or formulation was attainable.

Thus, at the time the Roundup products left Defetidant's control, there was a practical, technically

feasible and safer alternative design that would ha.ve prevented the harm witliout substantially

impairing the reasonably anticipated or intended function of Defendant's herbicides.

        168.    The Plaintiff could not, by the exei-cise of reasonable care, have discovered

Roundup's defects herein mentioned or perceived its danger.

        169.    By reason of the foregoing, the Defendant has become strictly liable to the Plaintiff

for the manufacturing, marketing, promoting, distribution, and selling of a defective product,

Roundup.

        170.    Defendant's defective design of Roundup amounts to willful, wanton, and/or

reckless conduct by Defendant.

        171.    Defects in Defendant's Roundup were the cause or a substantial factor in causing

Plaintiffs iiijuries.

        172.    As a result of the foregoing acts and oniissions, Defendant's conduct, as described

above, was reckless. Defendant risked the lives of consttmers and users of its products, including




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Plaintiff, with knowledge of the safety problems associated with Roundup and glyphosate-

containing products, and suppressed tliis knowledge from the general public. Defendant made

conscious decisions not to redesign, warn or inforin the unsuspecting public. Defendant's recicless

conduct wan-ants an award of punitive damages.

        173.    As a dii-ect and proximate result of Defendant placing its defective Roundup

products into the stream of commerce, Plaintiff was injured and has sustained pecuniary loss and

general damages in a stun in excess of the jurisdictional inininn.un of this Court.

        174.    WIIEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiffs' favor for compensatory and punitive damages, together with interest, costs lierein

incurred, attorneys' fees and all such other and further relief as this Court deems just and proper.

                            THIRD CAUSE OF ACTION:
                  STRICT PRODUCTS LIABILITY — FAILURE TO WARN

        175.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fiilly set forth herein and further alleges as follows:

        176.    Defendant has engaged in the business of selling, testing, distributing, supplying,

manufacturing, marlceting, and/or promoting Roundup, and through that conduct has kiiowingly

and intentionally placed Roundup into the stream of commerce with full l;liowledge that it reaches

consumers such as Plaintiff, who are exposed to it through ordinary and reasonably foreseeable

uses.

        177.    Defendant did in fact sell, distribute, supply, manufacture, and/or promote Roundup

to Plaintiff. Additionally, Defendant expected supplying, manufacturing, and/or promoting to

reach — and Roundup did in fact reach — consumers, including Plaintiff, without any substantial

change in the condition of the product from wlien it was initially distributed by Defendant.

        178.    At the time of manufacture, Defendant could have provided the warnings or



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instructions regarding the full and coniplete risks of Roundup and glyphosate-containing products

because it knew or should have known of the unreasonable risks of harm associated with the use

of and/or exposure to such products.

       179.    At all times herein mentioned, the aforesaid product was defective and unsafe in

manufacture such that it was unreasonably dangerous to the user, and was so at the time it was

distributed by Defendant and at the time Plaintiff was exposed to and/or ingested the product. The

defe.ctive condition of Routidup was due in part to the fact tliat it was not accompanied by proper

warnings regarding its carcinogenic qualities and possible side effects, including, but not limited

to, developing Non-Hodgkin's lymphon-►a as a result of exposure and use.

       180.    Roundup did not coiitain a warning or caution statement, which was

necessary and, if complied with, was adequate to protect the healtli of those exposed in

violation of 7 U.S.C. § 136j(a)(1)(E).

       181.    Defendant's failure to include a warning or caution statement which was

necessary and, if complied with, was adequate to protect the health of those exposed,

viola.ted 7 U.S.C. § 136j(a)(1)(E) as well as the laws of the State of Texas.

       182.    Defendant could have amended the label of Roundup to provide additional

warnings.

       183.    This defect caused serious injury to Plaintiff, who used Roundup in its intended and

foreseeable manner.

       184.    At all times lierein mentioned, Defendant had a duty to properly design,

manufacture, compound, test, inspect, package, label, distribute, market, examine, inaintain

supply, provide proper wac•nings, and take such steps to assure that the product did not cause users

to suffer fi•om um•easonable and dangerous side effects.




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       185.    Defendant labeled, distributed, and promoted the aforesaid product that it was

dangerous and unsafe for the use and pui-pose for which it was intended.

       186.    Defendant failed to warn of the nature and scope of the side effects associated with

Roundup, namely its careinogenic properties and its propensity to cause or sei-ve as a substantial

contributing factor in the development of NHL.

       187.    Defendant was aware of the probable consequences of the aforesaid conduct.

       188.    Despite the fact that Defendant kiiew or should liave known that Roundup c.aused

serious injuries, Defendant failed to exercise reasonable care to wani of the dangerous

carcinogenic propei-ties and the side effect of developing NHL fi-om Roundup exposure, even

though these side effects were kiiown or reasonably scientifically knowable at the time of

distribution. Defendant willfully and deliberately failed to avoid the consequences associated with

its failure to warn, and in doing so, Defendant acted with a conscious disregard for tlie safety of

Plaintif£

       189.    At the time of exposure, Plaintiff could not liave reasonably discovered any defect

in Roundup through the exercise of reasonable care.

       190.    Defendant, as the manufacturer andlor distributor of the subject product, is held to

the level of knowledge of an expert in the field.

       191.    Plaintiff reasonably relied upon the skill, superior knowledge, and judginent of

Defendant.

       192.    Had Defendant properly disclosed the rislcs associated with Roundup products,

Plaintiff would have avoided the risk of NHL by not ttsing Roundup products.

       193.    The information that Defendant did provide or communicate failed to contain

adequate warnings and precautions that would have enabled Plaintift; and siinilarly situated




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individuals, to utilize the product safely and with adequate protection. Inst:ead, Defendant

disseminated infomiation that was inaccurate, false and misleading and whicli failed to

communicate accurately or adequately the comparative severity, duration, and extent of the risk of

injuries associated with use of and/or exposure to Roundup and glyphosatc;. Defendant continued

to promote the efficacy of Rottndup, even after it knew or should have lalown of the tuireasonable

risks from use or exposure; and coneealed, downplayed, or otheixvise suppressed, tlll'ough

aQgressive marketing and proniotion, any inforination or research about the risks and dangers of

exposure to Roundup and glyphosate.

       194.    To this day, Defendant has failed to adequately warn of the true risks of Plaintiif's

injui-ies associated with the use of and exposure to Roundup.

       195.    As a result of its inadequate warnings, Defendant's Roundup products were

defective and unreasonably dangerous when they left the possession andlor control of Defendant,

were distributed by Defendant, and used by Plaintiff.

       196.    Had Defendant provided adequate wanlings and instructions and properly disclosed

and disseminated the risks associated with its Roundup products, Plaintiff could have avoided the

risk of developing injuries atid could have obtained or used altet-tiative herbicides.

       197.    As a direct and proximate result of Defendant placing its defective Roundup

products iiito the stream of commerce, Plaintiff suffered and incurred harm and personal iiijuty,

developed NHL, and incurred damages including pain and suffering, medical expenses and other

economic and nonecononiie damages.

       198.    WHEREFORE, Plaintiff respectfully requests that this Court enter judgtnent in

Plaintiff's favor for compensatory and punitive datnages, together with interest, costs IZerein

incurred, attorneys' fees and all such other and fiirther relief as this Court deems just and proper.




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                           FOURTH CAUSE OF ACTIOIiT
                   BREACH OF EXPRESS AND II\'IPLIED WARRANTIES

        199.    Plaintiff incorporates by reference all previous parag-raphs of this Complaint as if

fiilly set forth herein and further alleges as follows:

       200.     At all times herein mentioned, Defendarit manufactured, distributed, compounded,

recommended, merchandized, advertised, pronioted, and sold Roundup as a broad-spectriun

herbicide. These actions were under the ultimate control and supervision of Defendant.

       201.     At the tinie Defendant marketed, sold, and distributed Roundup for use by Plaintiff,

Defendant laiew of Roundup's intended use and irnpliedly warranted the product to be of

nlerchantable quality and safe and fit for this use.

       202.     The Defendant expressly and impliedly represented and warranted to Plaintiff and

users of Roundup, the agricultural coinmtuiity, and/or the EPA that Roundup was safe and of

merchantable quality and fit for the ordinary purpose for which it was to be used.

       203.     These representations and warranties were false, misleading, and inaccurate in that

Roundup was unsafe, unreasonably dangerous, not of inerchantable quality, and defective.

       204.     Plaintiff and/or the EPA did rely on said iinplied warranty of inerchantability of

fitiiess for particular use and purpose.

       205.     Plaintiff reasonably relied upon the skill and judgment of Defendant as to wliether

Roundup was of inerchantable quality and safe and tit for its intended use.

       206.     Roundup was injected into the stream of commerce by the Defendant in a defective,

unsafe, and inherently dangerous condition, and tlie products' matcrials were expected to and did

reach users, handlers, and persons encountering said products without substantial change in the

condition in wliich they were sold.

       207.     Defendant breached the aForesaid itnplied warranties, as its Roundup herbicide was



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not fit for its intended purposes and uses.

        208.    As a result of the foregoing acts and omissions, Defendant caused Plaintiff to suffer

serious and dangerous side effects, severe and personal injuries and econoniic and non-economic

damages, harm, and losses, including, but not limited to: past medical expenses; past and future

loss of earnings; inental anguish; severe and debilitating emotional distress; physical and niental

pain, sutfering and discomfort; and loss and impaii-inent of the quality and enjoyment of life.

        WHEREFORE, Plaintiff respectfiilly requests that this Court enter judgment in Plaintiff's

favor for compensatory and punitive damages, together witli interest, costs herein incurred,

attonieys' fees and all relief as this Coui-t deems just and proper.

                              FIFTH CAUSE OF ACTION:
                      VIOLATION OF THE CONSUMER FRAUD ACTS

        209.    Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

fiilly set forth herein and further alleges as follows:

        210.    Plaintiff brings this cause of action pursuant to the California Business &

Professions Code § 17500, California Civil Code §§ 1750 et. seq., and the provisions of Title 2,

Chapter 17 of the Texas Deceptive Trade Practices Consumei- Protection Act because Defendant

induced Plaintiff to use Roundup tlirough the use of false a.nd/or misleading advertising,

representat.ions and statements.

        211.    Defendairt     fraudulently,    intentionally,   negligently,   and/or    innocently

misrepresented to the public, and to the Plaintiff, directly and by and through the niedia and

pui-ported "cominunity outreacli" programs, the safety of Roundup products, and/or fraudulently,

intentionally, negligently and/or innocently concealed, suppressed, or omitted material, adverse

information regarding the safety ofRoundup. Tliis deception caused injury to Plaintiff in violation

of the Consumer Fraud Act of the Plaintiff's honie state, wliich creates private rights of action by



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the Plaintiff.

        212.     The intentional, negligent, and/or innocent misrepresentations and omissions of

Defendant regarding the safety of Roundup products were conlniunicated to Plaiiitiff directly

through national and regional advertising, marlceting and promotion efforts, as well as the

pacicaging and sales aids. The safety of Roundup products was also intentionally, negligently,

and/or imiocently misrepresented to Plaintiff and the pubtie with the intent that such

inisrepresentations would cause Plaintiff and other potential coi.Isumers to purchase and use or

continue to purchase and use Roundup products.

        213.     Defendant either new or should have kiiown of the material representations they

were niaking regarding the safety and relative utility of Roundup products.

        214.     Defendant fi•audulently, intentionally, negligently, and/or innocently made the

misrepresentations and/or actively concealed, suppressed, or omitted this material infonnation

with the specific desire to induce Plaintiff, and the consuining public, to purcliase and use Roundup

products. Defendant fraudulently, intentionally, negligently, and/or iiuiocently, I:new or should

have known that Plaintiff and the consuming public would rely on such matei-ial

misrepresentations and/or omissions in selecting and applying Roundup products. Defendant lcnew

or should have known that Plaintiff would rely on Defendant's false representations and omissions.

        215.     Defendant made these misrepresentations and actively concealed adverse

information including the risk of Non-Hodgkin's lymphoma, at a time when, Defendant's agents

and/or employees knew or should liave known, that the product had defects, dangers, and

characteristics that were other than what was represented to the consuming public. Specifically,

Defendant niisrepresented and actively concealed, suppi-essed, and omitted that thei-e had been

inadequate testing of the safety and efticacy of Rotmdup, and that prior stttdies, research, i-eports,




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and/or testing had been conducted liiiking the use of the drug with serious health events, inch.iding

Non-Hodgkin's lymphoma.

          216.   If Plaintiff had laiown the true facts concerning the risks associated with Roundup

exposure, Plaintiff would have used a safer altenlative.

          217.   Plaintiffs reliance upon the material niisrepresentations and oniissions was

justified, among other reasons, because said misrepresentations and omissions were made by

individuals and entities who were in a position to know the true facts concerning Roundup wliile

Plaintiff was not in a position to know the ti-ue facts because Defendant overstated the benefits

and safety of Roundup and downplayed the risk of NHL, thereby inducing Plaintiff to use

the herbicide rather than safer altenlatives.

          218.   Federal law and the EPA do not authorize and specifically pro.hibit the deceptions,

misrepresentations and omissions made by Defendant.

          219.   As a direct and proximate result of Defendant's actions and inactions, Plaintiff was

exposed to Roundup and suffered and will continue to suffer injuries and damages, as set forth

herein.

          220.   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

Plaintiff s favor for compensatory and punitive damages; toge.ther with interest, costs incurred,

attonieys' fees, and all relief as this Court deems just and proper.

                                      PRAI'ER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment against the Defendant on each of the above-

referenced claims and causes of action and as follows:

          1.     Awarding compensatory daniages in excess of tlle jurisdictional amount, inctuding,

but not limited to pain, sttffering, emotional distress, loss of enjoyinent of life, and other non-




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economic damages in an amount to be detei-iiiined at the trial of this action;

        2.     Awarding compensatory damages to Plaintiff for past and fiiture damages,

inchiding but not limited to, Plaintiff's pain and suffering and for severe and permanent personal

injuries, sustained by Plaintiff, including health care costs and economic loss;

        3.     Awarding economic daniages in the form of inedical expenses, out of pocket

expenses, lost eanlings and other econoinic damages in an amoiult to be detei7nined at the trial of

this action;

        4.     Pre-judgment interest;

        5.     Post judgment interest;

        6.     Awarding Plaintiff reasonable attorneys' fees;

        7.     Awarding Plaintiff the costs of these proceedings; and

        8.     Such otlier and further relief as this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

        Plaintiff hereby demands trial by jury as to all issues contained herein.

Dated: October 29, 2020

                                               Respectfully submitted,

                                              ls/ Bryclnt A. Fitts
                                              Bryant A. Fitts
                                              Texas Bar Number: 24040904
                                              FITTS LAVV FIRM
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                                              ATTORNEYS FOR PLAINTIFF




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The iS 44 civil cover ,heet and the information aontained herein neitlter replace nor suPpletnent tUe filing and setvi e of pleadings or other papers a, reguired by law, except as
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purpose of initiating the civil docket sliect. (SEE1:V.5"1'Rt?C'Tln.NtS'Qa';VEXTP.dG'EOFTIIISF02V.)

1. (a) PLAINTIFFS                                                                                                         DFFF,NOANTS

Patrick Crabtree                                                                                                         1VIonsanto Company
   (b) Cotntty ofResiclence of First Listeci Plaintiff                      HOOa COullty, •I'X                              Countv of Residenee itf First Listed Defendant                     St. L,ou1S Coullty, .1VIO
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Fitts Law Firlia, 4801 Richmotid Ave., Houston, TX 77027
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O 240 TorG to Land                    7-143 liousin&'                      Sentence                                                     26 L'SC 7609                                            CJ 899 Adtniuistratit•e Prucedure
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                                              28 USC 1332
VI. CAUSE OF ACTION Briefdescription of cause:
                                              Personal Injury/Products Liability
Vll. REQUES'1L+'ll IN                        [-D CIIEC'K IF TIIIS IS r1 CC.ASS ACl'IOV                               DL:MAND S                                         CHEC'K YES onlv ifdemanded in complaint:
         COMPLALNT:                                UNDE4t RUI.F. 23, r.It.C•,.P.                                        In excess of $75,000                           JUR1' DENIAND:                  X YeS        7tio
47I1. RELATFI) CASE(S)
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      IF ANY                                                                 JUDGL-                                                                           DOCKL-T NL'D4BLR
DA1'E                                                                           SIGNAI'URG OF ATTOR.N'E1' OF RI:CORD
10/27/2020                                                                     /s/ Blyant A. Fitts
FOR OFFICE tiSE ONLY

  RECEII'T P                       AMOUNT                                           API'LYING IFI'                                           IUDGL                                M.r\G. JUDGL
                             Case MDL No. 2741 Document 2214-5 Filed 02/24/21 Page 43 of 43
JS-3=tReverse (Rev.Ott!IS)
                      Case 4:20-cv-01192-0 DOcLlment 1-1 Filed 10/29/20 Page 2 af 2 PagelD 39
                      1NS'I'RiJC'I'IONS FOR A'I"1'ORNEYS COM1'L11:'1'INC, C1VIL COVER SI-IEE`I' FOR1tii .1S
                                                            44
                                                                 Authority For ('ivil Cover S}teet
The JS 44 civil cover sheet anci the infonuatiou contained lierein »either replaces nor supplemertts the filings and service of pleading or other papers as
required by law, except as provided by local iules of court. 'I'his forrrt, approved by the Jttdicial Conference of thc United States in September 1974, is
required for the use of the C'lerlc of C'ourt for the purpose o£initiatina the civil docket sheet. Consequetitly, a civil cover street is submitted to the Clerk of
Court for each civil cotnplaint filed. The altorney Gling a case should coniplele the flonn a, foltows:

L(a)     Plaintiffs-Defendants. Enter names (last, first, middle initial ) of plaintiff and clefendarn. If the plaintiff or defendant is a'overnment a,cncy, use
         only the fiill namc or standard abbreviations. If the plaintiff or defcndant is an official within a eovernment agency, identifv first the aHencv and
         then the officiat, git inry both nanie and title.
  (b)    Courity of Residence.~ Por each civil casc tiled, except I.J.S. plaintiff eases, enter thc name of the county wheee the first listed plaintiff resides at ttte
         time of filing. In U.S. plaintitf cases, entcr the name of the county in which the 6rst listed defendant resides at the titne of tiling. (1`TOTE: In iarrd
         condemnation cases, the county of resiclence of the "defendant" is the loc.ation of the tract of lan(i involved.)
  (c)    Attor•nevs. Enter the firni name, acldress, telephune number, ancf autornev of.record. tf tliere are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

11.     Jurisdiction. The basis of jurisdiction is set fortli under Rule 3(a), F.R.Cv.P.. which requires thatjurisdictions be show•n in pleadings. Place an "X"
        in one ol'tlte boxes. If'there is more tltan one basis ol'jurisdiction, precedence is given in the order showm below.
        linited States plaintiff. (1) Jurisdiction based on 28 U'.S.C. 1345 and 1345. Suits by aaencies and offcers of the Uruted States are ineluded here.
        Uniteci States defendant. (2) \Vhen the plaintiff is suini, ihe United States, its oificers ur ay.encies, place an "X" in thia box.
        Federal question. (3) This refers to suits under 29 (J.S.C. 1331, wlierc jurisdiction arises under the Constitution of the United States, <m amendnient
        to the Constittttion, an. act of Congress or a treaty of the tJnited States. In cases where the U.S. is a party, the U.S. plaintifif or defendant code takes
        precedence, and box 1 or? should be marked.
        Diversity of citizenship. (4) This refets to suits under 25 IJ.S.(_'. 1332, where parties arc citizens of clifferent states. Wlren Box -1 is checked, ttie
        citizenship of the different parties niust be checked. (See Section I I I belov; NOTE: federal question actions take precede.nce over diversity
        cases.)

111.    Residence (ci(izenship) of Principal Parlies. This section of the JS 4=4 is to be completed if cliversity of citizenship was indicated above. Mark this
        section for each principal partv.

IV.     1\'ature of Suit. Place an "X" in the appropriate box. lf there are rirultiple nature oPsuit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Ntriure of Suit Code i.hscrintioti..

V.      Origin. Place an "X" in one of Cltc seven boxes.
        Original Proceedings. (1) Cases whicli originate in the Urtited States district cotu-ts.
        Rzmoved li•orn State Court. (2) Proceedings initiated in slate courts rnay be renloved to the di:Lriet courls under Title 28 U.S.C., Seclion 1441.
        Remancfed l'rom Appellate C.ottrt. (3) Chec•k this box l'or cases remanded to the district court fbr litriher ac.tion. Use the clate oi'remand as the (ilinL
        date.
        Keinstated or Reopened. (4) Check this box for eases reinstated or reopeneci in the district court. Use the reopening date as tlte frling date.
        Transferred from Anotlier District. (5) For cases transferred tuuter Title 28 U.S.C. Sectibn 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation — Transfer. (6) C:heck this box when a multidistrict case is transferred iuto the district uuder authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict L.itigation — Direct F'ile. (8) Check this box )vhen a multidistrict case is tiled in the same dist.rict as the Master N9DL. docket. Pl.E.4SE
        NOTE THA'f THL12F IS NO'I' AN OIZIGIN C011E 7. Origin C'ode 7Was used for liistorical records ancl is no lont;er relevant due to changes in
        statue.

Vt.     Cause of Action. Report the civil statute directly related to the cause ofaction and ~ive a brief description of the cause. Do not cite,jur'isdictional
        statutes nnless diversity. Bxample: U.S. Civil Statute: 47 USC: 553 t3rief Description: Unauthirrized reception of cable service

Vll.    Requested in Coniplaint. Class Actiorr. Placa an "X" in this box if yott are filing a cdass action urrder Rule 23, F.R.Cv.P.
        Dernand. In this space enter the actual dollar arnoimt being demanded or indicate othe.r dem:md, sueli as a preliniinary injunction.
        ,lttry Demand. Check tlie appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. "1'his section of the JS 14 is used to reference related pcnding cases, if arry. If there are rclated pending cases, insert the dockct
        nurnbers anci the corTesponding juclge nanies fi~r sucli cases.


Date and Attorney Si;nature. Date ancf sign the civil cover slreet.
